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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,    .
                              .
          Plaintiff,          .        CR No. 18-0218 (TSC)
                              .
     v.                       .
                              .
 MARIIA BUTINA, a/k/a         .        Washington, D.C.
 MARIA BUTINA,                .        Thursday, March 28, 2019
                              .        10:00 a.m.
          Defendant.          .
 . . . . . . . . . . . . . . ..



                    TRANSCRIPT OF STATUS HEARING
               BEFORE THE HONORABLE TANYA S. CHUTKAN
                    UNITED STATES DISTRICT JUDGE



APPEARANCES:

For the Government:              ERIK M. KENERSON, AUSA
                                 U.S. Attorney's Office
                                 National Security Section
                                 555 Fourth Street, NW
                                 Washington, DC 20530

For the Defendant:               ROBERT N. DRISCOLL, ESQ.
                                 ALFRED D. CARRY, ESQ.
                                 McGlinchey Stafford, PLLC
                                 1275 Pennsylvania Avenue, NW
                                 Suite 420
                                 Washington, DC 20004

Court Reporter:                  BRYAN A. WAYNE, RPR, CRR
                                 U.S. Courthouse, Room 4704-A
                                 333 Constitution Avenue, NW
                                 Washington, DC 20001




Proceedings reported by stenotype shorthand.
Transcript produced by computer-aided transcription.
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 1                               P R O C E E D I N G S

 2                  THE DEPUTY CLERK:   Your Honor, we have criminal

 3   action 18-218, United States of America versus Mariia Butina.

 4   We have Mr. Erik Kenerson representing the government and

 5   Mr. Alfred Carry and Mr. Robert Driscoll representing

 6   Ms. Butina, who is present.

 7                  THE COURT:   Good morning, everyone.    Good morning,

 8   Ms. Butina.      Mr. Kenerson, chambers received an e-mail from

 9   you last night, and obviously Mr. Driscoll was included on that,

10   that the government is in a position to request a sentencing

11   date.    Is that correct?

12                  MR. KENERSON:   Good morning, Your Honor.

13           Yes.   That is correct.

14                  THE COURT:   All right.   Have you conferred with

15   Mr. Driscoll regarding when that could be?          Because I believe,

16   since we already ordered the presentence report, Probation has

17   indicated they can turn that around pretty quickly.

18                  MR. KENERSON:   We had discussed -- the government's

19   request is going to be the week of April 29, if the Court's

20   available.      I think Mr. Driscoll preferred it to be the week

21   before.    We would kind of defer to the Court's availability

22   between those two weeks.

23                  THE COURT:   Mr. Bradley?

24           (Court conferring with deputy clerk.)

25                  THE COURT:   You said you're asking for the week of
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 1   the 29th?   Is the 29th a Monday?

 2               THE DEPUTY CLERK:    That's a Monday.

 3               THE COURT:   That's a Monday.    And what's the Friday

 4   before that?

 5               THE DEPUTY CLERK:    The Friday before that's the 26th.

 6               THE COURT:   Are you available on the 26th?

 7   That would be sort of a compromise between the two of you.

 8               MR. KENERSON:   I am available on the 26th.

 9               THE COURT:   Mr. Driscoll?

10               MR. DRISCOLL:   We're available on the 26th.

11               THE COURT:   All right.   What time do you want to

12   set that for?   10 a.m.?

13               MR. KENERSON:   That's fine, Your Honor.

14               MR. DRISCOLL:   Fine with us, Your Honor.

15               THE COURT:   10 a.m. on the 26th.

16        All right.    Mr. Kenerson and Mr. Driscoll, will you

17   approach, please, and Mr. Carry, if you want to.

18        (Bench conference.)

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 3        (End of bench conference.)

 4             THE COURT:    All right.    Sentencing is set for

 5   April 26th at noon.    I require all sentencing material and

 6   memoranda to be filed a week before.       I like to review it

 7   several times.   I really don't like last-minute submissions.

 8        Ms. Butina, if there are documents or letters or anything

 9   you want your lawyer to have me look at as I prepare for

10   sentencing, those must be submitted to Mr. Driscoll so that

11   he can get them to me within a week before sentencing.

12        As I told you at your plea, you will also have an

13   opportunity, if you wish, to speak to me.        You don't have to.

14   I don't hold it against you if you don't, but I do take into

15   account what you do say.

16        So all submissions need to be -- if they're not, and I

17   get them late, we're going to have to continue the sentencing,

18   and I don't want to do that.

19        Is there anything else?

20        (Law clerk conferring with Court.)

21        Did I say noon?    I'm sorry.    10 a.m.

22        Mr. Driscoll.

23             MR. DRISCOLL:     Your Honor, I think the only matter

24   is I think you need to set a date for the PSR.         I mean, we have

25   the draft and we've given our comments, but I think just give
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 1   them a date --

 2                THE COURT:   Once I set a sentencing date, they usually

 3   take that into consideration.        I don't have to set a date for

 4   the PSR --

 5                MR. DRISCOLL:   Okay.

 6                THE COURT:   -- because I already ordered that it be

 7   prepared some time ago.      I believe that they only need about

 8   12 days to finalize.      So you all should get the draft well in --

 9   and if you don't get it in time, let us know, because you all

10   have to look at the draft before I see it.

11                MR. KENERSON:   We've actually already received the

12   draft.

13                MR. DRISCOLL:   And we've given our comment.

14                THE COURT:   Oh, good.

15                MR. DRISCOLL:   I just wanted to make sure that they

16   had a date --

17                THE COURT:   Oh, yeah.    Then we're fine.

18                MR. KENERSON:   And the only request from the

19   government, since we didn't formally request it, is that

20   the bench conference be under seal.

21                THE COURT:   The bench conference will be placed

22   under seal.    All right.    Anything further?

23                MR. DRISCOLL:   Not from defense, Your Honor.

24                THE COURT:   All right.    I'll see you all on the 26th.

25   Thank you.     (Proceedings adjourned at 10:07 a.m.)
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                              CERTIFICATE

          I, BRYAN A. WAYNE, Official Court Reporter, certify

that the foregoing pages are a correct transcript from the

record of proceedings in the above-entitled matter.




                          __________________
                          BRYAN A. WAYNE
